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8
       DIRECT INSURANCE COMPANY
9

10                        UNITED STATES DISTRICT COURT
11          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
12     BERKSHIRE HATHAWAY DIRECT              Case No. 2:21-cv-00040-DMG-
       INSURANCE COMPANY, a                   AGR
13
       Nebraska corporation,
14                                            FIRST AMENDED COMPLAINT
15
                         Plaintiff,           FOR DECLARATORY RELIEF
                                              AND REIMBURSEMENT AND
16     v.                                     JURY DEMAND
17
       LDR VENTURES PARTNERS,
18     LLC, a California Limited Liability
19
       Company,

20                       Defendant.
21

22           Plaintiff BERKSHIRE HATHAWAY DIRECT INSURANCE
23     COMPANY (“BHDIC”) alleges as follows:
24                               NATURE OF THE CASE
25           1.    LDR VENTURES PARTNERS, LLC (“LDR”) contracted in
26     August 2018 with ROCK CENTRAL SERVICES, INC. d/b/a IT’S EASY,
27     INC. (“It’s Easy”) to create a new website and mobile application by April
28     2019 for It’s Easy’s passport and visa services business. It’s Easy alleges
            FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1      LDR did not deliver a commercially usable website or mobile application in
2      that time frame or ever. It’s Easy alleges that after paying nearly $300,000
3      and a long delay, LDR’s web site was seriously deficient and unusable. It’s
4      Easy cancelled its web site launch and instituted arbitration against LDR.
5            2.    Prior to June 8, 2020, LDR did not have professional liability
6      insurance. After the long delay in the project completion and during testing
7      of the web site, on June 8, 2020, LDR purchased an insurance policy from
8      BHDIC. LDR seeks to have the BHDIC policy cover this breach of contract
9      claim. However, It’s Easy’s claim is not covered under the BHDIC policy.
10     First, a professional services claim involving an “occurrence” prior to the
11     policy period would only be covered if there had been previous continuous
12     professional liability coverage, which there was not. Second, there was no
13     “occurrence” (i.e., accident) and/or the “occurrence(s)” started or took
14     place prior to the BHDIC policy’s inception. Furthermore, the BHDIC policy
15     does not cover claims for breach of contract. BHDIC seeks a declaration,
16     order, and judgment that BHDIC does not owe a duty to indemnify or
17     defend LDR.
18           3.    BHDIC brings this lawsuit because the policy is designed to be
19     customer-friendly. BHDIC condensed hundreds of pages of standard
20     industry language into a simple, plain-language, three-page form. The
21     claim against LDR is clearly outside the scope of coverage based on the
22     plain language of this three-page policy form. It is necessary to litigate
23     what should be obvious from this unprecedently simple policy. There is no
24     coverage for the claim against LDR.
25                                       PARTIES
26           4.    Plaintiff Berkshire Hathaway Direct Insurance Company is
27     incorporated under the laws of the State of Nebraska with its principal
28     place of business in Omaha, Nebraska.

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1            5.    Defendant LDR Ventures Partners, LLC is a Limited Liability
2      Company under the laws of the State of California with its principal place
3      of business in Los Angeles County, California. LDR has two member-
4      owners. Andrew Koven, one of LDR’s two member-owners, is domiciled in
5      the State of California. Maxine Kozler, one of LDR’s two member-owners,
6      is domiciled in the State of California.
7                                     JURISDICTION
8            6.    This Court has jurisdiction over this matter pursuant to 28
9      U.S.C. § 1332 because there is complete diversity among plaintiff and
10     defendant and the amount in controversy exceeds $75,000, exclusive of
11     interest and costs.
12           7.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b),
13     because this is the judicial district in which defendant LDR conducts
14     business and where the insurance policy was issued.
15           8.    Pursuant to 28 U.S.C. § 2201(a) and Federal Rules of Civil
16     Procedure 57, this Court has the authority to adjudicate the matters at
17     issue and enter its judgment declaring the rights of the parties to the
18     action.
19                              FACTUAL BACKGROUND
20     LDR – It’s Easy Dispute
21           9.    It’s Easy alleges that in late July 2018 or early August 2018,
22     It’s Easy engaged LDR, a marketing and consulting business, to redesign
23     It’s Easy’s website and develop a mobile application for It’s Easy’s
24     passport and visa services business (the “Project”).
25           10.   It’s Easy alleges LDR represented it would complete this
26     Project in less than nine months, i.e., by April 2019.
27           11.   It’s Easy alleges on August 23, 2018, the operative contract
28     was entered into between LDR and It’s Easy (the “Agreement”). The

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1      Agreement contemplated that the Project was to be conducted in two
2      phases, with the scope of services and deliverables for each of the two
3      phases specified in a statement of work incorporated into the Agreement.
4      The first phase of the Project was set forth in an initial marketing
5      consulting agreement dated August 2, 2018. The second phase of the
6      Project, the “execution phase,” was set out in the Agreement. The two
7      phases of the Project were to take 270 days to complete.
8            12.   It’s Easy alleges between August 2018 and April 2019, It’s
9      Easy paid LDR nearly $300,000 in fees and expenses to perform work
10     under the Agreement.
11           13.   It’s Easy alleges LDR did not deliver by April 2019 a usable
12     website rebuild or mobile website application. It’s Easy alleges LDR did
13     not even commence the “execution phase” of the Project until after the
14     270-day deadline to complete the Project. Thus, prior to purchasing the
15     BHDIC policy, It’s Easy alleges LDR was already in breach.
16           14.   In or before June 2020, testing was performed on the web site
17     and It’s Easy advised LDR about errors during testing of the website.
18           15.   On or before June 11, 2020, It’s Easy advised LDR about
19     concern about the handling and execution of the Project.
20           16.   These problems culminated on June 16, 2020 with It’s Easy’s
21     conclusion that “we have a system that is not only a train-wreck in more
22     ways than one, but does not even work in a manner that is fully usable to
23     anyone with a computer.” At that point, It’s Easy alleges it cancelled its
24     already delayed website launch.
25           17.   It’s Easy alleges LDR failed to properly manage and timely
26     perform services required under the Agreement, including the goal to have
27     a web site fully optimized before launch. It’s Easy alleges LDR’s
28     programming and work product were seriously deficient.

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1            18.   On August 17, 2020, LDR was provided with notice of It’s
2      Easy’s demand for arbitration in connection with LDR’s alleged breach of
3      the Agreement.
4            19.   In It’s Easy’s Statement of Claim filed on October 1, 2020 in
5      the arbitration proceedings, It’s Easy alleges LDR’s failure to provide a
6      commercially usable website rebuild and mobile application was a breach
7      of the Agreement. It’s Easy alleges causes of action for breach of contract,
8      unjust enrichment, and seeks not less than $750,000 in damages, as well
9      as attorney’s fees and costs.
10     BHDIC Policy
11           20.   Even though LDR had been in business since 2017, LDR did
12     not have a professional liability insurance policy prior to purchasing the
13     BHDIC policy.
14           21.   BHDIC created its “THREE” Insurance Policy to change the
15     way small businesses buy insurance. In particular, the main form of the
16     Policy is only three pages long, compared to dozens or even hundreds of
17     pages in standard insurance policy forms. The THREE form was designed
18     to be clear and concise, and while the form is very short compared to most
19     policies, the basis for the lack of coverage on the subject claim is
20     conspicuously set out in the brief three-page form.
21           22.   BHDIC issued its “THREE Insurance Policy” (three-page
22     policy) no. 140121049 to LDR Ventures Partners, LLC, effective June 8,
23     2020 to June 8, 2021 (“Policy”). As is relevant to this dispute, the Policy
24     includes coverage for Business Liability with a Limit of Liability of $1 million
25     for any one liability occurrence and $3 million for any and all liability
26     occurrences, subject to a $1,000 deductible.
27     ///
28     ///

             FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1           23.   The Policy provides, in relevant part, that:
2
                  I. The coverage we provide your business under this
3                    policy:
4
                  This policy only covers your business for loss caused by
5                 occurrences during the policy period. An “occurrence”
6                 means an accident, including continuous or repeated
                  exposure to substantially the same general harmful
7                 conditions that begin during the policy period.
8                 “Occurrence” also includes an error or omission by your
                  business. Should any part of this policy, on its effective
9                 date, conflict with the laws of the state where your
10                business is based, then that part of this policy will be
                  automatically amended to meet the minimum
11                requirements of those laws.
12                ...

13                For your business’ liability to others: We cover your
14                business for amounts it is legally required to pay others
                  as the result of an occurrence. We will provide legal
15                counsel to defend any such claims. When listed
16                Additional Insureds or employees of your business act on
                  its behalf, they are also covered.
17

18                We also cover (i) claims of negligence, errors, or
                  omissions in providing professional services, and (ii)
19                claims against directors or officers of your business
20                arising from their actions taken on behalf of your
                  business. For these kinds of claims, if your business first
21                learns about the claim during this policy, and previously
22                had continuous insurance coverage that would have
                  covered the claim, we will cover that claim even though it
23                is not the result of an occurrence during this policy.
24

25          24.   The Policy further provides:
26
                  II. What we do not cover:
27

28

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1                 We do not cover any occurrence(s) that start or take
                  place outside the policy period on the Summary. To be
2                 covered by any of this policy’s Coverages, the damage,
3                 liability, or injury must be caused by or arise from an
                  occurrence during the policy period on the Summary. For
4                 any claims that we do not cover, we will not provide legal
5                 counsel to defend those claims.
                  ...
6

7                 For liability claims, we do not cover claims based on (i)
                  damage or occurrences that were expected or intended
8                 (in other words, it was not accidental); (ii) a contract; (iii)
9                 warranty claims, or (iv) any promise of financial
                  performance or return.
10

11          25.   In addition, the Policy provides that:
12
                  V. What your business needs to do:
13
                  You expect us to be fair in meeting your business’ needs.
14
                  For us to best meet our responsibilities under this policy,
15                we need your business to meet certain requirements as
                  well. First, we need
16
                  openness and honesty about all the information provided
17                to us in connection with this policy. We will rely upon that
                  information to give a premium estimate, and we also use
18
                  it to protect ourselves in the event of fraud or efforts to
19                abuse our policy and the promises we make in it.
20
                  Second, we need your business to report to us as quickly
21                as possible about anything that could give rise to claims,
                  and cooperate with our requests. We ask that your
22
                  business take all reasonable steps to protect itself and its
23                property after a loss. Your business must file a police
24
                  report following a theft. If you have any questions or
                  concerns, the earlier you report to us, the faster we can
25                act to cover your business. We may need to ask
26
                  additional questions to process claims, and your business
                  must answer those promptly and truthfully. After your
27                business reports a claim to us, we will promptly
28
                  investigate, and will promptly pay claims when liability has

            FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1                  become clear and your business has provided us with
                   proof of loss. Your business cannot give up claims it
2                  might have against others for the losses covered by this
3                  policy without our permission.

4                  Third, keep us updated. If any of the information given to
5                  us changes, such as adding a new property to the
                   business, let us know so that we can keep our records up
6                  to date. Some information we may seek to confirm in any
7                  event. For example, after this policy expires, we will likely
                   ask for confirmation of payroll so we can confirm workers’
8                  compensation data. For this and any other information
9                  requests relating to this insurance, we will be relying on
                   your business to provide accurate information. These
10                 requests may include audits of books or physical
11                 inspection of your business’operations. We will also use
                   the information to adjust the premium (up or down) so it
12                 accurately reflects your business’ risks. All premium for
13                 this policy will be determined by our manuals of rules,
                   rates, rating plans and classifications. We may change
14                 our manuals and apply the changes to this policy if
15                 authorized by law or a governmental agency regulating
                   this insurance.
16

17                 If your business does not meet its obligations to us,
                   your business may lose some or all coverage under
18                 this policy.
19

20           26.   The Policy further provides under “If Something Goes Wrong”
21     that: “For liability claims, we will have the right to decide how to prepare for
22     and defend any potential claim, and to decide if a claim should be settled.”
23     Tender and Denial
24           27.   On or about August 18, 2020, LDR tendered It’s Easy’s claim
25     to BHDIC under the Policy.
26           28.   BHDIC reserved rights and requested information about the
27     dispute.
28     ///
             FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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1              29.   Based on its investigation and the claims being made by It’s
2      Easy, BHDIC concluded there was no coverage afforded by the Policy for
3      It’s Easy’s claim against LDR, and denied the claim on September 24,
4      2020.
5              30.   LDR requested reconsideration. BHDIC, after further
6      considering LDR’s arguments and additional information provided, again
7      concluded on November 11, 2020 that It’s Easy’s claim was not covered.
8      Nonetheless, BHDIC agreed to provide It’s Easy with a defense, pursuant
9      to a full reservation of rights.
10                               FIRST CAUSE OF ACTION
11     (Declaratory Relief – No Coverage for Professional Liability Based on
12                          Occurrence Prior to Policy Period)
13             31.   BHDIC re-alleges and incorporates by reference the
14     allegations set forth in paragraphs 1 through 30 of this Complaint as
15     though fully set forth here.
16             32.   The Policy provides coverage for liabilities faced by a
17     business, including claims of “negligence, errors, or omissions in providing
18     professional services.” The Policy provides that “we will cover that claim
19     even though it is not the result of an occurrence during this policy.”
20     However, the Policy provides for that claim to be covered, the insured
21     must have “previously had continuous insurance coverage that would have
22     covered the claim.”
23             33.   It’s Easy alleges LDR did not provide the professional services
24     set forth in the Agreement. It’s Easy alleges LDR’s failure to provide those
25     professional services started in at least April 2019 when the website was
26     not completed according to the schedule, when the “execution phase” was
27     not started until after April 2019, and when product testing failed. It’s Easy
28     alleges it intended to launch its web site months prior to when it was able

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1    to do so, and that it shut down the web site in June 2020 when the web
2    site still did not function as it was supposed to perform.
3          34.   It’s Easy’s claim is based on an occurrence or occurrence(s)
4    (errors and omissions in the performance of the Agreement) that started or
5    took place prior to the inception date of the Policy.
6          35.   LDR first presented It’s Easy’s claim to BHDIC in August 2020,
7    during the policy period of the Policy.
8          36.   LDR confirmed it did not have insurance coverage for this type
9    of claim prior to June 8, 2020 when LDR purchased the BHDIC Policy.
10         37.    Therefore, BHDIC concluded It’s Easy’s claim against LDR is
11   not covered under the professional services coverage in the Policy.
12         38.   LDR disagrees with BHDIC.
13         39.   An actual controversy exists between BHDIC and LDR
14   regarding the parties’ respective rights, duties, and obligations (if any)
15   under the Policy and applicable law.
16         40.   BHDIC seeks a judicial declaration, order, and judgment that
17   the Policy does not provide coverage for It’s Easy’s claim against LDR.
18   Such judicial determination is necessary and proper in order that all parties
19   included in this lawsuit are bound by the same interpretation of the Policy.
20         Wherefore, BHDIC prays for the relief set forth below.
21                          SECOND CAUSE OF ACTION
22    (Declaratory Relief – No Coverage for “Occurrence(s)” or Breach of
23                                     Contract)
24         41.   BHDIC re-alleges and incorporates by reference the
25   allegations set forth in paragraphs 1 through 30 of this Complaint as
26   though fully set forth here.
27         42.   The Policy provides coverage for “loss caused by occurrences
28   during the policy period.” The Policy provides that: “To be covered . . . the

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1    damage, liability, or injury must be caused by or arise from an occurrence
2    during the policy period . . .”
3          43.    “Occurrence” is defined in the Policy as “an accident, including
4    continuous or repeated exposure to substantially the same harmful
5    conditions that begin during the policy period.” “Occurrence” also “includes
6    an error or omission by your business.”
7          44.    The Policy provides that it does not cover “any occurrence(s)
8    that start or take place outside the policy period . . .”
9          45.    In addition, the Policy does not cover claims “based on []
10   damage or occurrences that were expected or intended (in other words,
11   not accidental) . . .”
12         46.    Further, the Policy does “not cover claims based on . . . a
13   contract . . .”
14         47.    It’s Easy alleges LDR failed to perform under the Agreement
15   when, in April 2019, LDR did not deliver the website. It’s Easy further
16   alleges LDR failed to perform the Agreement by not commencing work on
17   the web site until after April 2019. It’s Easy further alleges testing showed
18   the web site did not work. It’s Easy alleges LDR failed to deliver a website
19   and app that functioned as was promised.
20         48.    LDR’s failure to perform obligations under the Agreement as
21   alleged by It’s Easy is not an “accident” as that term is defined under
22   California law.
23         49.    LDR’s failure to perform obligations under the Agreement as
24   alleged by It’s Easy started and took place prior to the inception date (June
25   8, 2020) of the Policy.
26         50.    In addition, It’s Easy’s a claim is one for failure-to-deliver the
27   contracted-for product and services and, thus, all “based on a contract.”
28   ///

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1          51.   BHDIC contends the Policy does not cover It’s Easy’s claim
2    because there is no “occurrence” and/or the “occurrence(s)” first started
3    and took place prior to the policy period of the Policy.
4          52.   BHDIC further contends that there is no coverage because It’s
5    Easy’s claim is based on a contract.
6          53.   LDR disagrees with BHDIC’s position.
7          54.   An actual controversy exists between BHDIC and LDR
8    regarding the parties’ respective rights, duties, and obligations (if any)
9    under the Policy and applicable law.
10         55.   BHDIC seeks a judicial declaration, order, and judgment that
11   there is no coverage afforded by the Policy because there was no
12   “occurrence” and/or because the “occurrence(s)” started or took place
13   prior to the policy period and/or because the claim against LDR is based
14   on a contract. Such judicial determination is necessary and proper in order
15   that all parties are bound by the same interpretation of the Policy.
16         Wherefore, BHDIC prays for the relief set forth below.
17                           THIRD CAUSE OF ACTION
18                    (Declaratory Relief – No Duty to Defend)
19         56.   BHDIC re-alleges and incorporates by reference the
20   allegations set forth in paragraphs 1 through 55 of this Complaint as
21   though fully set forth here.
22         57.   The Policy provides that BHDIC will defend the insured against
23   claims potentially covered by the Policy. The Policy also provides that “[f]or
24   any claims that we do not cover, we will not provide legal counsel to
25   defend those claims.”
26         58.   Under California law, there is only a duty to defend if the claim
27   against the insured is potentially covered by the policy; if the claim cannot
28   be covered by the policy, there is no duty to defend.

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1          59.    It’s Easy’s claim against LDR cannot be covered by the BHDIC
2    Policy because, to the extent it is a claim for “negligence, errors, or
3    omissions in providing professional services,” LDR did not “previously
4    [have] continuous insurance coverage that would have covered the claim.”
5          60.    Further (or alternatively), It’s Easy’s claim against LDR cannot
6    be covered by the Policy because the allegations against LDR are not
7    based on an accident.
8          61.    Further (or alternatively), It’s Easy’s claim against LDR cannot
9    be covered by the Policy because (if there was any “occurrence”), the
10   Policy does not cover “occurrence(s) that start or take place outside the
11   policy period . . .”
12         62.    Further (or alternatively), It’s Easy’s claim against LDR cannot
13   be covered because It’s Easy’s claim is based on a contract.
14         63.    BHDIC agreed to defend It’s Easy under a full reservation of
15   rights, but BHDIC contends it owes no duty to defend LDR against It’s
16   Easy’s claim in arbitration.
17         64.    LDR disagrees with BHDIC’s position.
18         65.    An actual controversy exists between BHDIC and LDR
19   regarding the parties’ respective rights, duties, and obligations (if any)
20   under the Policy and applicable law.
21         66.    BHDIC seeks a judicial declaration, order, and judgment that
22   there is no duty to defend LDR against It’s Easy’s claim. Such judicial
23   determination is necessary and proper in order that all parties are bound
24   by the same interpretation of the Policy.
25         Wherefore, BHDIC prays for the relief set forth below.
26   ///
27   ///
28   ///

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1                           FOURTH CAUSE OF ACTION
2                                   (Reimbursement)
3          67.   BHDIC re-alleges and incorporates by reference the
4    allegations set forth in paragraphs 1 through 66 of this Complaint as
5    though fully set forth here.
6          68.   BHDIC is defending LDR in the arbitration under a full
7    reservation of rights, including the right to be reimbursed for any amounts
8    paid as defense fees and costs.
9          69.   BHDIC has no duty to defend; therefore, LDR is receiving a
10   benefit (defense fees and costs) that BHDIC had no obligation to pay.
11         70.   BHDIC has an equitable and quasi-contractual right to be
12   reimbursed by LDR for the defense fees and costs BHDIC pays on behalf
13   of LDR.
14         71.   BHDIC seeks a judicial declaration, order, and judgment that
15   LDR reimburse LDR for defense fees and costs paid by BHDIC, and
16   interest thereon, in an amount according to proof at trial.
17         Wherefore, BHDIC prays for the relief set forth below.
18                              PRAYER FOR RELIEF
19         WHEREFORE, BHDIC prays for entry of judgment and relief as
20   follows:
21         1.    A declaration, order, and judgment that BHDIC does not owe
22   any duty to indemnify LDR against It’s Easy’s claim;
23         2.    A declaration, order, and judgment that BHDIC does not owe
24   any duty to defend LDR against It’s Easy’s claim;
25         3.    A declaration, order, and judgment that LDR reimburse BHDIC
26   for all amounts BHDIC has paid as defense fees and costs in defending
27   LDR, in an amount according to proof at trial;
28         4.    For pre-judgment interest;

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1         5.    For costs of suit; and
2         6.    For such other relief as this Court deems just and proper.
3    Dated: January 26, 2021               NICOLAIDES FINK THORPE
                                           MICHAELIDES SULLIVAN LLP
4
                                         By:      /s/ Sara M. Thorpe
5
                                                     Sara M. Thorpe
6                                          Attorney for BERKSHIRE
                                           HATHAWAY DIRECT INSURANCE
7
                                           COMPANY
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1                          DEMAND FOR JURY TRIAL
2         BHDIC hereby demands a trial by jury in this action.
3    Dated: January 26, 2021              NICOLAIDES FINK THORPE
                                          MICHAELIDES SULLIVAN LLP
4
                                       By:       /s/ Sara M. Thorpe
5
                                                    Sara M. Thorpe
6                                         Attorney for BERKSHIRE
                                          HATHAWAY DIRECT INSURANCE
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                                          COMPANY
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          FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
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